

Matter of Wright v Euson (2019 NY Slip Op 01933)





Matter of Wright v Euson


2019 NY Slip Op 01933


Decided on March 15, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 15, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department



260 CAF 18-00267

[*1]IN THE MATTER OF DASHAWN WRIGHT, PETITIONER-RESPONDENT,
vDESIREE EUSON, RESPONDENT-APPELLANT. (APPEAL NO. 2.) 






KATHLEEN E. CASEY, BARKER, FOR RESPONDENT-APPELLANT.
MELISSA A. CAVAGNARO, BUFFALO, ATTORNEY FOR THE CHILD. 


	Appeal from an order of the Family Court, Niagara County (Kathleen Wojtaszek-Gariano, J.), entered January 2, 2018 in a proceeding pursuant to Family Court Act article 6. The order, among other things, awarded petitioner sole custody of the subject child. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Entered: March 15, 2019
Mark W. Bennett
Clerk of the Court








